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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


   SHIRLEY ROST, individually and on behalf              Case No. 15-cv-24296-PCH
   of all others similarly situated,
                                                         CLASS ACTION
                     Plaintiff,                          JURY TRIAL DEMANDED
           v.

   GRADUATION ALLIANCE, INC., a Utah
   corporation,
                Defendant.


                        MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING


         In accordance with Local Rules 4(b) of the Special Rules Governing the Admission and

  Practice of Attorneys of the United States District Court for the Southern District of Florida, the

  undersigned respectfully moves for the admission pro hac vice of Steven L. Woodrow of the law

  firm of Woodrow & Peluso, LLC—located at 3900 E. Mexico Avenue, Suite 300, Denver,

  Colorado 80210 with the phone number 720-213-0675—for purposes of appearance as co-counsel

  on behalf of Plaintiff and the Class in the above-styled case only, and pursuant to Rule 2B of the

  CM/ECF Administrative Procedures, to permit Steven L. Woodrow to receive electronic filings in

  this case, and in support thereof states as follows:

         1.         Steven L. Woodrow is not admitted to practice in the Southern District of Florida

  and is a member in good standing of the following Courts:

                •   State of Colorado

                •   State of Illinois
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                 •   United States District Court for the District of Colorado

                 •   United States District Court for the Northern District of Illinois

                 •   United States District Court for the Western District of Michigan

                 •   United States District Court for the Eastern District of Michigan

                 •   United States Court of Appeals for the Ninth Circuit

                 •   United States Court of Appeals for the Seventh Circuit

            2.       Movant, Stefan Coleman, Esquire, of the law firm of The Law Offices of Stefan

  Coleman, PLLC—located at 201 South Biscayne Blvd., 28th Floor, Miami, Florida 33131, 877-

  333-9427—is a member in good standing of the The Florida Bar and the United States District

  Court for the Southern District of Florida and is authorized to file through the Court’s electronic

  filing system. Movant consents to be designated as a member of the Bar of this Court with whom

  the Court and opposing counsel may readily communicate regarding the conduct of the case, upon

  whom filings shall be served, who shall be required to electronically file all documents and things

  that may be filed electronically, and who shall be responsible for filing documents in compliance

  with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative

  Procedures.


           3.        In accordance with the local rules of this Court, Steven L. Woodrow has made

 payment of this Court’s $75 admission fee. A certification in accordance with Rule 4(b) is attached

 hereto.


           4.        Steven L. Woodrow, by and through designated counsel and pursuant to Section 2B

 CM/ECF Administrative Procedures, hereby requests the Court to provide him Notice of Electronic

 Filings to his email address, swoodrow@woodrowpeluso.com.
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        WHEREFORE, Stefan Coleman, moves this Court to enter an Order permitting Steven L.

 Woodrow to appear before this Court on behalf of Plaintiff and the Class, for all purposes relating

 to the proceedings in the above-styled matter and directing the Clerk to provide notice of electronic

 filings to Steven L. Woodrow.


 Date: December 30, 2015               Respectfully submitted,


                                        /s/ Stefan Coleman

                                       Stefan Coleman, Esq.
                                       Florida Bar No. 0030188
                                       law@stefancoleman.com
                                       Law Offices of Stefan Coleman, PLLC
                                       877.333.9427
                                       Attorneys for Plaintiff
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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


  SHIRLEY ROST, individually and on behalf          Case No. 15-cv-24296-PCH
  of all others similarly situated,
                                                    CLASS ACTION
                 Plaintiff,                         JURY TRIAL DEMANDED
         v.

  GRADUATION ALLIANCE, INC., a Utah
  corporation,
               Defendant.



                        CERTIFICATION OF STEVEN L. WOODROW



        Steven L. Woodrow, Esquire, pursuant to Rule 4(b) of the Special Rules Governing the

 Admission and Practice of Attorneys, hereby certifies that (1) I have studied the Local Rules of the

 United States District Court for the Southern District of Florida; and (2) I am a member in good

 standing of numerous Courts, including the States of Illinois and Colorado and the United States

 District Courts for Colorado and the Northern District of Illinois.




                                                /s/ Steven L. Woodrow

                                                Steven L. Woodrow
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                                    CERTIFICATE OF SERVICE




         I HEREBY CERTIFY that a true and correct copy of the foregoing Motion to Appear Pro

  Hac Vice, Consent to Designation and Request to Electronically Receive Notices of Electronic

  Filings was served on all counsel of record by filing such papers with the Court’s electronic filing

  system, on December 30, 2015.


                                          /s/ Stefan Coleman
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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


   SHIRLEY ROST, individually and on behalf          Case No. 15-cv-24296-PCH
   of all others similarly situated,
                                                     CLASS ACTION
                  Plaintiff,                         JURY TRIAL DEMANDED
          v.

   GRADUATION ALLIANCE, INC., a Utah
   corporation,
                Defendant.


                     ORDER GRANTING MOTION TO APPEAR
            PRO HAC VICE, CONSENT TO DESIGNATION AND REQUEST TO
           ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING


         THIS CAUSE having come before the Court on the Motion to Appear Pro Hac Vice for

  Steven L. Woodrow, Consent to Designation, and Request to Electronically Receive Notices of

  Electronic Filing, pursuant to the Special Rules Governing the Admission and Practice of

  Attorneys in the United States District Court for the Southern District of Florida and Section 2B

  of the CM/ECF Administrative Procedures. This Court having considered the motion and all other

  relevant factors, it is hereby ORDERED AND ADJUDGED that:

         The Motion is GRANTED. Steven L. Woodrow may appear and participate in this action

  on behalf of Plaintiff. The Clerk shall provide electronic notification of all electronic filings to

  Mr. Woodrow at swoodrow@woodrowpeluso.com.

         DONE AND ORDERED in Chambers at                                                , Florida, this

         day of                                      .

                                                                         United States District Judge
  Copies furnished to: All Counsel of Record
